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STEVE BRIAN PHERIGO,

Plaintiff,
vs. No. 04-3029-Ml/V
FEDERAL BUREAU OF PRISONS,

Defendant.

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ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff, Steve Brian Pherigo, prison registration number
28128-044, an inmate at the Federal Prison Camp (FPC),l in
Millington,r Tennessee, who was formerly incarcerated at the Federal
Correctional lnstitution, (FCI) in Memphis, Tennessee, filed a
complaint under Bivens v. Six Unknown Federal Agents, 403 U.S. 388
(1971). The Clerk shall file the case and record the defendant as
the Federal Bureau of Prisons.

l. ASSESSMENT OF FILING FEE

Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of 3150 required by 28 U.S.C. § l9l4(a). Tne
in igrma pauperis statute, 28 U.S.C. § lQlS(a) merely provides the

prisoner the opportunity to make a "downpayment" of a partial

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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filing fee and pay the remainder in installments.

In this case, Plaintiff has submitted both an in fgrma
pauperis affidavit and ca prison trust fund account statement.
Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the
Plaintiff cooperate fully with prison officials in carrying out
this order. It is further ORDERED that the trust fund officer at
Plaintiff's prison shall calculate a partial initial filing fee
equal to twenty percent (20%) of the greater of the average balance
in or deposits to the Plaintiff's trust fund account for the six
months immediately preceding the completion of the affidavit. When
the account contains any funds, the trust fund officer shall
collect them and pay them directly to the Clerk of Court. If the
funds in Plaintiff's account are insufficient to pay the full
amount of the initial partial filing fee, the prison official is
instructed to withdraw all of the funds in the Plaintiff's account
and forward them to the Clerk of Court. On each occasion that
funds are subsequently credited to Plaintiff's account the prison
official shall immediately withdraw those funds and forward them to
the Clerk of Court, until the initial partial filing fee is paid in
full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
Plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
Plaintiff's account during the preceding month, but only when the

amount in the account exceeds $l0.00, until the entire $lB0.00

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filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United, States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify Plaintiff's name and the case number on
the first page of this order.

lf Plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined he shall provide the officials at the
new prison with a copy of this order.

lf the Plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at Plaintiff's
prison.

The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2). The

Clerk shall not issue process or serve any papers in this case.

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II. ANALYSIS OF PLAINTIFF'S CLAIMS

Plaintiff sues the Bureau of Prisons (BOP) alleging that on
September 4, 2002, while working at FCI Memphis collecting trays,
he sustained a crush injury to his right hand and his fifth finger
was cut off. Plaintiff alleges that he warned his supervisor
several times about the unsafe condition of the tray cart. He
alleges that he has lost sixty percent of the use of his hand.

Plaintiff alleges that immediately after the accident, he was
taken to the infirmary with his right hand wrapped in a towel. He
alleges that he held the severed finger in his left hand.
Plaintiff alleges that unspecified persons refused to give him any
pain medication and, once the bleeding stopped, he was placed in
his cell. He believes that it was approximately five hours before
he was taken to a hospital emergency room. A physician sewed his
finger back on, but advised him that there would have been a better
chance of saving it if it had been placed on ice. Plaintiff
received a prescription for pain medication and was transported
back to FCI Memphis.

Plaintiff'alleges that he arrived at FCI Memphis after lO:OO
p.m. where he was denied food and his pain medication. A guard
advised him that he would have to see the doctor the next day
before he could receive his prescribed medication. Because
Plaintiff was crying from pain, a guard called the doctor on duty;
however, the doctor stated he could do nothing. Plaintiff states
he received a pain pill at sick call the next day. Plaintiff

alleges that he received the pills four times a day; however, the

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pills did not relieve his pain and made him sick. He noticed his
finger turning black after about one week.

Two or three weeks later, Plaintiff alleges he was taken to an
outside doctor who wanted to amputate his finger. Plaintiff states
that he was returned to FCI Memphis and five weeks passed before
the finger was amputated. He alleges that he only received pain
pills for three days after the amputation. He asked about physical
therapy; however, none was provided.

Plaintiff seeks compensatory and punitive damages for the
“negligent conduct of the [prison] staff immediately following
[his] injury.” Plaintiff contends that prompt medical attention
would have allowed successful reattachment of his finger. He also
seeks damages for the “negligence . . . for the treatment
when [he] came back from the hospital and the treatment [he]
received when [his] finger was turning black and needed to be
removed immediately. And finally for the treatment after surgery,
which because of the lack of therapy, left [him] with only forty
percent use of [his] hand.”

The BOP is not a suable entity under federal law, and a suit
against the BOP is actually a suit against the United States.
Pennhurst State Schl. & Hosp. v. Halderman, 465 U.S. 89, 98-100
(1984). The United States can be sued only to the extent to which
it has waived its sovereign immunity. United States v. Orleans,
425 U.S. 807, 814 (1976); Feyers v. United States, 749 F.2d 1222,
1225 (6th Cir. 1984); Ecclesiastical Order of the lsm of Am, Inc.

v. Chasin, 653 F. Supp. 1200, 1206 (E.D. Mich. 1986). A waiver of

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sovereign immunity cannot be implied but must be unequivocally
expressed by Congress. United States v. Mitchell, 445 U.S. 535,
538 (1980); Johnson v. Hubbard, 698 F.Zd 286, 290 (6th Cir. 1983);
Jahn v. Regan, 584 F. Supp. 399, 406 (E.D. Mich. 1984).

An action under Bivens cannot be brought against the United
States. Rather, the Federal Tort Claims Act (FTCA) is the
exclusive remedy in tort actions against the United States.2 18
U.S.C. § 2679(a). Peak v. Small Business Admin., 660 F.2d 375, 377
(8th Cir. 1981). As the Bivens claims against the BOP and United
States are barred by absolute and sovereign immunity, this Court is
devoid of jurisdiction over them, and they are DISMISSED pursuant
to 28 U.S.C. § 1915(e)(2)(B)(i) and Fed. R. Civ. P. 12(h)(3).

Plaintiff has failed to name the individual officers and
medical employees who denied him prompt and/or proper medical
treatment as defendants in this complaint. lt is well settled that
a complaint cannot be commenced against fictitious parties.
Bufalino v. Michigan Bell Tel. Co., 404 F.2d 1023, 1028 (6th Cir.
1968); see alsg Cox v. Treadway, 75 F.3d 230, 240 (6th Cir. 1996)
(explaining that a claim naming fictitious "John Doe" defendants
does not commence an action and that a subsequent amendment

identifying the defendant cannot relate back under Rule 15).

 

2 Plaintiff may well have an appropriate claim under the FTCA. See

Goggin v. U.S., No. 91-2735 (W.D.T.N. Feb. 14, 1995) (granting prisoner damages
under the FTCA); see also Wooten v. U.S., 825 F.2d 1039, 1045-1046 (6th Cir.
1987) (finding federal prisoner's claims against the government compensable under
the FTCA); Serra v. Pichardo, 786 F.2d 237, 239 (6th Cir. 1986) (noting verdict
against U.S. for federal prisoner's injury in prison). Plaintiff must, of
course, comply with the administrative claims procedure before bringing a claim
in Federal Court under that Act.

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Because Plaintiff failed to name a proper party as defendant but
alleged, that he filed an administrative grievance, the Court
reviewed the complaint and attachments to determine if a proper
defendant was named in Plaintiff's grievance. Plaintiff did not
include copies of his grievance or any responses as exhibits to his
complaint.

Furthermore, the complaint relates multiple instances of the
delay and denial of medical treatment by those unnamed individuals.
Plaintiff alleges in conclusory fashion that he completely
exhausted the administrative remedy program applicable to Bivens
actions by filing a grievance, appealing the warden's response to
the regional director, and the warden's response to the general

counsel. See C.F.R. §§ 542.10-542.19 However, he fails to state

 

the specific facts of his grievance,r the parties named in the
grievance, the date he filed his grievance,r or the date any
response was received.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires
a federal court to dismiss without prejudice whenever a prisoner

brings a prison conditions claim without demonstrating that he has

exhausted his administrative remedies. Brown v. Toombs, 139 F.3d
1102 (6th Cir. 1998). This requirement places an affirmative

burden on prisoners of pleading particular facts demonstrating the
complete exhaustion of claims. Knuckles El v. Toombs, 215 F.3d
640, 642 (6th Cir. 2000). In order to comply with the mandates of
42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

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show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.

;Q; at 642; see also Baxter v. Rose, 305 F.3d 486, 489 (6th Cir.
2002)(prisoner who fails to adequately allege exhaustion may not
amend his complaint to avoid a sua sponte dismissal); Curry v.
§§Q;t, 249 F.3d at 503-04 (no abuse of discretion for district
court to dismiss for failure to exhaust when Plaintiffs did not
submit documents showing complete exhaustion of their claims or
otherwise demonstrate exhaustion).

Plaintiff is not entitled to cure these noted deficiencies by
amending his complaint with exhibits or allegations of additional
facts under the holding of Baxter, 305 F.3d at 489. To the extent
Plaintiff exhausted his claims, he must refile his complaint within
the applicable statute of limitations and plead exhaustion with
sufficient detail to meet the heightened pleading requirement. ld.
lf Plaintiff did not exhaust his remedies on all claims or against
all defendants, Plaintiff must identify those defendants, exhaust
administrative remedies against them, and file any nonfrivolous
complaint against them within the one year statute of limitations
applicable to Bivens actions. Tenn. Code Ann. § 28-3“104(a).

The only date that appears in the complaint is September 4,
2002. The medical care that Plaintiff received to the hand, by
Plaintiff’s allegations, concluded within the next three to four

months. Plaintiff does not allege the date he filed his grievance

or the date that he received a response from the general counsel;

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therefore, the Court is unable to determine the exact period of
time Plaintiff's statute of limitations was tolled. Plaintiff did
not file this complaint until December 6, 2004. Plaintiff's
complaint may well be barred by the statute of limitations;
however, his injuries were obviously serious. Therefore, the Court
will dismiss the Bivens claims, without prejudice, due to
Plaintiff's failure to demonstrate the exhaustion of any claim
presented against any proper defendant. Plaintiff's allegations
are clearly insufficient to satisfy the exhaustion requirements of
§ 1997e(e). As Plaintiff has not exhausted his administrative
remedies, the Court dismisses the complaint under 42 U.S.C. §
1997e(a).

lll. APPEAL lSSUES

The next issue to be addressed is whether Plaintiff should be
allowed to appeal this decision ip fp;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fp;ma pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438,r 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Brown v.
Toombs also held that an appellate court must also dismiss a
complaint if a prisoner has failed to comply with7 § 1997e's
exhaustion requirements.

Accordingly, if a district court determines that a complaint

must ina dismissed. for want of exhaustion, any appeal of that

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dismissal would also be subject to immediate dismissal. This
Plaintiff seeks to present claims that are barred by sovereign
immunity, devoid of jurisdiction, and unexhausted. He would not
yet be able to present an issue in good faith on appeal and, thus,
any appeal of this action would be frivolous.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by Plaintiff is not taken in good
faith, and Plaintiff may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a filing
fee if Plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not
affect an indigent prisoner Plaintiff's ability to take advantage
of the installment procedures contained in § 1915(b). McGore v.
Wrigglesworth, 114 F.3d 601, 610~11 (6th Cir. 1997). McGore sets
out specific procedures for implementing the PLRA.

Therefore, the Plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in

McGore and § 1915(b).

IT 18 80 ORDERED this Q;g| day of August, 200

 

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-03029 Was distributed by fax, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Steven Brian Pherigo
FPC-l\/l[LLlNGTON
28128-044

P.O. ch 2000

Millingtcn, TN 38083--200

Honorable Jon McCalla
US DISTRICT COURT

